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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 06-178CCC

 1) LIVEA ALICEA-RIOS
 Defendant


                                        ORDER
       Having considered the Report and Recommendation filed on June 22, 2007 (docket
entry 94) on a Rule 11 proceeding of defendant Livea Alicea-Rios held before Magistrate
Judge Camille Velez-Rive on June 20, 2007, to which no opposition has been filed, the same
is APPROVED. Accordingly, the plea of guilty of defendant Livea Alicea-Rios is accepted. The
Court FINDS that her plea was voluntary and intelligently entered with awareness of her rights
and the consequences of pleading guilty and contain all elements of the offense charged in the
indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since June 20, 2007. The sentencing hearing is set for September
20, 2007 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on June 25, 2007.



                                                  S/CARMEN CONSUELO CEREZO
                                                  United States District Judge
